      Case: 22-40219    Document: 66        Page: 1   Date Filed: 07/10/2023




                           CASE NO. 22-40219


            IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT

TERRY GENTRY, Individually and, on behalf of All Others Similarly Situated,

                            Plaintiff – Appellee,

                                       v.

               HAMILTON-RYKER IT SOLUTIONS, LLC

                           Defendant – Appellant.


               On Appeal from the United States District Court
                     for the Southern District of Texas
                       Civil Case No. 3:19-cv-00320

            REPLY BRIEF OF DEFENDANT – APPELLANT
              HAMILTON-RYKER IT SOLUTIONS, LLC

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              Case: 22-40219            Document: 66             Page: 2       Date Filed: 07/10/2023




                                         TABLE OF CONTENTS

                                                                                                                 Page(s)

INTRODUCTION .....................................................................................................1
ARGUMENT .............................................................................................................3

         I.        PLAINTIFFS’ COMPENSATION SATISFIED §602(A)’S
                   SALARY BASIS TEST. ....................................................................... 3

                   A.       Hewitt Confirms §602(a)’s Salary Basis Test is Satisfied
                            When an Employee Received Compensation In Addition to
                            a Guaranteed Salary. ................................................................... 3

                   B.       Plaintiffs’ Extra Hourly Pay Fell under §604(a), Not
                            §604(b). .......................................................................................9
         II.       THE SALARY BASIS TEST IS INVALID .......................................12
                   A.       This Court Should Consider The Validity of the Salary
                            Basis Test. .................................................................................13
                   B.       The “Salary Basis” Requirements Exceed the DOL’s
                            Authority to Define and Delimit the White-Collar
                            Exemptions................................................................................16

                            1.        The FLSA Unambiguously Requires the White-
                                      Collar Exemptions Turn on Job Duties, Not Pay. .......... 17

                            2.        DOL’s Interpretation of the White-Collar Exemptions
                                      is Unreasonable...............................................................20
                   C.       The Reasonable Relationship Test is Even More Divorced
                            from the FLSA’s Text and, Therefore, Invalid. ........................23

         III.      THE DISTRICT COURT SHOULD BE DIRECTED TO
                   EXAMINE HR-IT’S GOOD FAITH EVIDENCE.............................24

Conclusion ...............................................................................................................26




                                                            ii
            Case: 22-40219              Document: 66              Page: 3       Date Filed: 07/10/2023




                                       TABLE OF AUTHORITIES

                                                                                                                 Page(s)
Cases
AG Acceptance Corp. v. Veigel,
  564 F.3d 695 (5th Cir. 2009) ..............................................................................14
Anani v. CVS RX Services, Inc.,
  730 F.3d 146 (2d Cir. 2013) .................................................................................7
Atl. Mut. Ins. Co. v. Truck Ins. Exch.,
   797 F.2d 1288 (5th Cir. 1986) ............................................................................13

Auer v. Robbins,
  519 U.S. 452 (1997) ......................................................................................22, 24
Bellum v. PCE Constructors, Inc.,
   407 F.3d 734 (5th Cir. 2005) ..............................................................................21
Bernal v. Bexar County,
   757 F. App’x 316 (5th Cir. 2018) .......................................................................14
Bio-Med. Applications of Aquadilla, Inc. v. United States,
   119 Fed. Cl. 546 (2014) ......................................................................................22

Bowen v. Georgetown Univ. Hosp.,
  488 U.S. 204 (1988) ............................................................................................10
Cargill v. Garland,
  57 F.4th 447 (5th Cir. 2023), petition for certiorari filed (U.S. April 7,
  2023) ...................................................................................................................16

Cavallini v. State Farm Mut. Auto Ins. Co.,
  44 F.3d 256 (5th Cir. 1995) ................................................................................25

CEATS, Inc. v. TicketNetwork, Inc.,
  No. 21-40705, 2023 WL 4056493 (5th Cir. June 19, 2023) ..............................25
Chen v. Major League Baseball Properties, Inc.,
  798 F.3d 72 (2d Cir. 2015) .................................................................................19


                                                            iii
           Case: 22-40219            Document: 66            Page: 4      Date Filed: 07/10/2023




Chevron, U.S.A. Inc. v. Nat. Res. Def. Council, Inc.,
  467 U.S. 837 (1984) ......................................................................................16, 17

Davis v. Fernandez,
  798 F.3d 290 (5th Cir. 2015) ........................................................................25, 26

Encino Motorcars, LLC v. Navarro,
  138 S. Ct. 1134 (2018) ........................................................................................18

Encino Motorcars, LLC v. Navarro,
  579 U.S. 211 (2016) ............................................................................................21

Epic Sys. Corp. v. Lewis,
   138 S. Ct. 1612 (2018) ........................................................................................20

Essinger v. Liberty Mut. Fire Ins. Co.,
   534 F.3d 450 (5th Cir. 2008) ..............................................................................13
Freeman v. Cnty. of Bexar,
   142 F.3d 848 (5th Cir. 1998) ..............................................................................25
Glass v. Paxton,
   900 F.3d 233 (5th Cir. 2018) ..............................................................................13
Gregory v. Missouri Pac. R. Co.,
  32 F.3d 160 (5th Cir. 1994) ................................................................................12
Gulf Fishermens Ass’n v. Nat’l Marine Fisheries Serv.,
  968 F.3d 454 (5th Cir. 2020), as revised (Aug. 4, 2020) .............................16, 21
Hebert v. FMC Techs., Inc.,
  No. 22-20562, 2023 WL 4105427 (5th Cir. June 21, 2023) .......................passim

Helix Energy Sols. Grp., Inc. v. Hewitt,
  143 S. Ct. 677 (2023) ...................................................................................passim
Hewitt v. Helix Energy Sols. Grp., Inc.,
  15 F.4th 289 (5th Cir. 2021) (en banc) ........................................................passim
Hughes v. Gulf Interstate Field Servs. Inc.,
  878 F.3d 183 (6th Cir. 2017) ................................................................................6



                                                        iv
           Case: 22-40219            Document: 66            Page: 5      Date Filed: 07/10/2023




Lamie v. U.S. Tr.,
  540 U.S. 526 (2004) ............................................................................................21

Litz v. Saint Consulting Grp., Inc.,
   772 F.3d 1 (1st Cir. 2014) .....................................................................................7

In re Lloyd's Register N. Am., Inc.,
    780 F.3d 283 (5th Cir. 2015) ..............................................................................25

Loper Bright Enters., Inc. v. Raimondo,
  45 F.4th 359 (D.C. Cir. 2022), cert. granted, 2023 WL 3158352 (2023) .......... 16

Mayfield v. U.S. Department of Labor,
  No. 1:22-cv-792-RP (W.D. Tex.) .................................................................15, 16

Meza v. Intelligent Mexican Mktg., Inc.,
  720 F.3d 577 (5th Cir. 2013) ..............................................................................19
Nevada v. United States Dep't of Lab.,
  275 F. Supp. 3d 795 (E.D. Tex. 2017)....................................................17, 18, 20
Pub. Emps. Ret. Sys. of Ohio v. Betts,
  492 U.S. 158 (1989) ......................................................................................15, 22
Sw. Elec. Power Co. v. United States Env't Prot. Agency,
  920 F.3d 999 (5th Cir. 2019) ..............................................................................17
United States v. Smith,
  39 F.2d 851 (1st Cir. 1930) .................................................................................22
Vaughn v. Wingo Serv. Co., Inc.,
  No. 4:20-CV-3915, 2022 WL 4280665 (S.D. Tex. Aug. 4, 2022) ....................... 6

W. Virginia v. Env’t Prot. Agency,
   142 S. Ct. 2587 (2022) ........................................................................................21
Willis v. Koning Assocs.,
   No. 21-CV-00819-BLF, 2023 WL 3569998 (N.D. Cal. May 19, 2023).............. 6
Wirtz v. Mississippi Publishers Corp.,
  364 F.2d 603 (5th Cir. 1966) ........................................................................22, 24



                                                         v
            Case: 22-40219              Document: 66             Page: 6        Date Filed: 07/10/2023




Statutes

5 U.S.C. § 706 ..........................................................................................................16

29 U.S.C. § 207 ........................................................................................................11
29 U.S.C. § 213 .................................................................................................passim

93 Stat. 920 ..............................................................................................................22

Rules
29 C.F.R. § 541.101 .................................................................................................20
29 C.F.R. § 541.304 .................................................................................................20
29 C.F.R. § 541.601 ...........................................................................................23, 24

29 C.F.R. § 541.602 ..........................................................................................passim

29 C.F.R. § 541.604(a)......................................................................................passim
29 C.F.R. § 541.604(b) .....................................................................................passim

29 C.F.R. § 541.709 .................................................................................................20
29 C.F.R. § 541.710 .................................................................................................20
29 C.F.R. § 778.101 .................................................................................................19

29 C.F.R. § 778.105 .................................................................................................11
57 Fed. Reg. 37666 (Aug. 19, 1992)........................................................................20

69 Fed. Reg. 22122 (April 23, 2004) .................................................................12, 24
84 Fed. Reg. 51230 (Sept. 27, 2019) .................................................................18, 23


Other Authorities
Black’s Law Dictionary (11th ed. 2019)……………….…………………………11
Miriam-Webster Dictionary………………………………………………………11


                                                            vi
         Case: 22-40219       Document: 66        Page: 7    Date Filed: 07/10/2023




                                    INTRODUCTION

       This is not a day-rate case. Plaintiffs undisputedly received weekly

guaranteed salaries of $984 and $1,200, respectively. These salaries were

predetermined, guaranteed to Plaintiffs in advance and in writing, and paid each

week they performed any work for HR-IT, whether they worked 1 minute or 100

hours. Thus, contrary to Plaintiffs’ claim, this pay practice is not “functionally the

same as that posed” in Helix Energy Sols. Grp., Inc. v. Hewitt, 143 S. Ct. 677

(2023) (“Hewitt). (Plaintiff-Appellee Brief (“Gentry Br.”) at 23, n.6).1 Rather, HR-

IT provided precisely what the Department of Labor’s (“DOL”) regulations and

Hewitt explain constitutes a salary: “a steady and predictable stream of pay, week

after week after week.” Hewitt, 143 S. Ct. at 688; see also 29 C.F.R. § 541.602(a).

       Yet, Plaintiffs and the DOL 2 urge this Court find Plaintiffs were not paid on

a salary basis solely because Plaintiffs received hourly pay on top of their weekly

salaries. This absurd result does not comport with the plain language of §602(a) or

Hewitt which unequivocally provide that §602(a) is met where—as here—an

employee receives “at least part of” his pay in the form a “preset weekly (or less

frequent) salary.” Hewitt, 143 S. Ct. at 683. Moreover, Plaintiffs’ position

completely ignores Hewitt’s affirmation that §602(a)’s “‘all or part’ reference …

1
  Capitalized terms not defined herein have the meaning ascribed to them in HR-IT’s Opening
Brief (“HR-IT Br.”).
2
  The Acting Secretary of Labor filed a Brief as Amicus Curiae in Support of Plaintiff-Appellee
and Affirmance of the District Court’s Decision, Doc. 62-1 (“DOL Br.”).
                                              1
        Case: 22-40219      Document: 66       Page: 8   Date Filed: 07/10/2023




makes clear that a worker can be paid on a salary basis even if he additionally gets

non-salary compensation, like a bonus.” Id. at 688 n.5. It also does not comport

with this Court’s recent decision in Hebert v. FMC Techs., Inc. that §604(b)’s

reasonable relationship requirement does not apply where, as here, employees

receive a guaranteed salary plus additional compensation. Hebert v. FMC Techs.,

Inc., No. 22-20562, 2023 WL 4105427, at *2 & n.3 (5th Cir. June 21, 2023).

      Plaintiffs and the DOL also implore the Court to shun HR-IT’s argument

that the salary basis test (or, at least, the reasonable relationship requirement) is an

invalid exercise of DOL’s authority to “define[] and delimit[]” the White-Collar

exemptions. But this issue of law—about which multiple Supreme Court justices

and judges of this Court have expressed deep concern—should be taken up now to

avoid the miscarriage of justice that would occur if Plaintiffs—despite

undisputedly performing the requisite White-Collar job duties and earning well

over the DOL’s “screening” salary threshold—are found non-exempt solely

because of the way they were paid. On the merits, neither Plaintiffs nor the DOL

provide any legitimate explanation for how an employee’s receipt of additional pay

on top of their weekly guaranteed amount that already exceeds DOL’s screening

threshold could have any bearing on whether that employee is employed in a “bona

fide executive, administrative, or professional capacity.” Therefore, the current

salary basis test does not pass statutory muster and must be invalidated.

                                           2
        Case: 22-40219      Document: 66       Page: 9   Date Filed: 07/10/2023




      Finally, even if this Court affirms the district court’s decision that Plaintiffs

were not paid on a salary basis, the Court should find that HR-IT established its

good faith defense or, at least, require the district court to consider HR-IT’s

evidence of good faith on remand.

                                    ARGUMENT

I.    PLAINTIFFS’ COMPENSATION SATISFIED §602(A)’S SALARY
      BASIS TEST.

      A.     HEWITT CONFIRMS §602(A)’S SALARY BASIS TEST IS SATISFIED WHEN
             AN EMPLOYEE RECEIVED COMPENSATION IN ADDITION TO A
             GUARANTEED SALARY.

      Plaintiff’s sole argument that they were not paid on a salary basis is because

they were compensated additional hourly pay on top of their weekly guaranteed

salaries, HR-IT was required to satisfy §604(b)’s reasonable relationship test.

(Gentry Br. at 8–31; DOL Br. at 12-24). Hewitt and §602(a) expressly foreclose

this argument: “§ 602(a)’s ‘all or part’ reference … makes clear that a worker can

be paid on a salary basis even if he additionally gets non-salary

compensation…” Hewitt, 143 S. Ct. at 688 n.5 (emphasis added)(citing 29 C.F.R.

§ 541.602(a) (salary basis means “employee regularly receives each pay period on

a weekly, or less frequent basis, a predetermined amount constituting all or part of

the employee’s compensation.”) (emphasis added)).

      Plaintiffs   ignore   Hewitt’s    unambiguous        affirmation   that     hybrid

compensation schemes, like HR-IT’s, may satisfy §602(a) by cherry-picking a
                                           3
         Case: 22-40219     Document: 66        Page: 10   Date Filed: 07/10/2023




phrase used just once in Hewitt—“weekly-rate-only”—completely out of context

to argue that §602(a)’s salary basis test “is ‘limited to weekly-rate employees’(i.e.,

those paid a “weekly-rate-only”). (Gentry Br. at 23). But, when placed back into its

context, it is clear the Supreme Court’s use of the phrase “weekly-rate-only” does

not refer to whether an employee receives extra compensation in addition to their

base salary; rather, it refers to what constitutes such a base salary in the first place:

        First, even without support from § 604(b), the plain text of § 602(a)
        excludes daily-rate workers like Hewitt…. And Helix of course
        acknowledges that it must comply with § 602(a) to satisfy the HCE
        rule’s salary-basis requirement. Second, even on Helix’s view of the
        HCE rule, § 604(b) in fact confirms the plain-text, weekly-rate-only
        reading of § 602(a).
Id. at 689 (internal citations omitted, emphasis added). Not only does Plaintiffs’

position misread Hewitt completely out of context, it also ignores the plain

language of §602(a) that confirms only “part”—not all—of an employee’s

compensation need be paid on a guaranteed weekly basis to satisfy its salary basis

test.

        In accordance with the plain language of Hewitt and §602(a), this Court

recently rejected this exact argument that §602(a)’s salary basis test cannot be

satisfied where an employee received compensation in addition to a guaranteed bi-

weekly salary. See Hebert, 2023 WL 4105427. In Hebert, the plaintiffs were paid a

biweekly salary that did not change based on the days or hours worked plus an



                                            4
           Case: 22-40219        Document: 66         Page: 11    Date Filed: 07/10/2023




additional “‘field service premium’ 3…for days spent working at an offshore site.”

Id. at **1, n.5. This Court found that because plaintiff “received a bi-weekly salary

without regard to the number of hours or days he worked,” he “plainly satisfie[d]

the definition of ‘salary basis’ in § 541.602(a).” Id. at *2. The Court also flatly

rejected plaintiff’s claim that because he as paid an additional day-rate bonus, he

was not paid in accordance with §602(a)’s salary basis test: “The regulations

foreclose that assertion. Hebert does not lose his status as an employee paid on

a salary basis just because he is also paid a bonus on top of the salary that the

record has established was guaranteed to him.” Id. (citing 29 C.F.R. 541.604(a))

(emphasis added). Because Hebert was paid a guaranteed bi-weekly salary in

accordance with §602(a), the court found §604(b) inapplicable. Id. at *2, n.5.

          As in Hebert, the undisputed record establishes that Plaintiffs were paid a

weekly guaranteed salary that did not change based on days or hours worked plus

an additional hourly premium. (HR-IT Br. at 16–20). Thus, just like in Hebert,

Plaintiffs received a salary that “plainly satisfies” 541.602(a). And, like in Hebert,

there is no dispute that Plaintiffs’ weekly salaries would otherwise satisfy

§602(a)’s salary basis test. (ROA.1263; Gentry Br. at 3-4, 15; DOL Br. at 10).

Accordingly, like in Hebert, this Court should find that because Plaintiffs were

paid a guaranteed weekly salary, §602(a)’s salary basis test was satisfied and


3
    The additional “field service premium” was calculated on a day-rate basis. Id.
                                                  5
        Case: 22-40219        Document: 66         Page: 12    Date Filed: 07/10/2023




§604(b)’s reasonable relationship requirement is inapplicable. See also Hewitt v.

Helix Energy Sols. Grp., Inc., 15 F.4th 289, 292 n.2, 297 (5th Cir. 2021) (en banc)

(courts “ignore § 541.604(b)” when plaintiffs are “undisputedly guaranteed weekly

base salaries” (quoting Hughes v. Gulf Interstate Field Servs. Inc., 878 F.3d 183,

189 (6th Cir. 2017)); Willis v. Koning Assocs., No. 21-CV-00819-BLF, 2023 WL

3569998, at *4 (N.D. Cal. May 19, 2023) (541.604(a), not 541.604(b), applied to a

“guaranteed monthly base salary” plus additional hourly pay).4

       Other than the district court’s decision here, Plaintiffs can only muster up

one decision to support its interpretation: Vaughn v. Wingo. 5 (Gentry Br. at 29-31).

But there “both parties agree[d] that Plaintiff was paid on an hourly basis,” and

defendant merely contended that plaintiff was “given a ‘guaranteed 40 [hours of

work] if that’s what he wanted.’” Vaughn, 2022 WL 4280665, at *3. Thus, Vaughn

is wholly distinguishable from the undisputed facts here, where Plaintiffs were

guaranteed, in writing, a weekly salary that was paid regardless of the number of

hours they worked each week.




4
  See also HR-IT Br. at 33–36 (collecting cases finding 541.604(b) does not apply to hybrid pay
structures). Although Plaintiffs dismiss these cases as “outliers,” (Gentry Br. at 38–39), Hebert
confirms that these cases correctly interpreted the salary basis regulations.
5
  Vaughn v. Wingo Serv. Co., Inc., No. 4:20-CV-3915, 2022 WL 4280665 (S.D. Tex. Aug. 4,
2022), report and recommendation adopted, 2022 WL 4277299 (S.D. Tex. Sept. 15, 2022).
                                               6
        Case: 22-40219        Document: 66         Page: 13    Date Filed: 07/10/2023




       Plaintiffs also incorrectly claim that their interpretation “harmonizes with”

the First and Second Circuit’s decisions in Litz and Anani.6 (Gentry Br. at 25-26).

Specifically, Plaintiffs incorrectly claim §604(b) did not apply in Litz because the

additional compensation paid was in the form of “commissions,” yet that word does

not appear in Litz. Rather, the “paystubs show[ed] hours times hourly rate,” like

here, thus Litz held §602(a) was met since plaintiffs received an “undisputed

guarantee” over $455. Litz, 772 F.3d at 5. Equally unavailing is Plaintiffs contention

that the Anani court did not apply §604(b) because the employee’s base salary was

based on 44 hours. But Anani did not rely on this fact; rather, the court held §602(a)

was satisfied since the “base weekly salary was guaranteed, i.e. to be paid regardless

of the number of hours appellant actually worked in a given forty-four-hour shift.”

Anani, 730 F.3d at 148. In fact, Anani’s additional pay for “additional hours

worked,” which “usually ranged from 16 to 36 hours per week,” often well exceeded

the DOL’s 1.5-to-1 ratio for the reasonable relationship test, yet the court found this

fact irrelevant. Id. at 147–48.

       In a further effort to avoid the application of §602(a), Plaintiffs

mischaracterize their guaranteed salaries as just a payment for 8 hours of work, i.e.

pay for a “a single day” and, therefore, “functionally the same as that posed in

Helix.” (Gentry Br. at 12 n.6, 15). But, contrary to Plaintiffs’ claim that eight hours

6
 Litz v. Saint Consulting Grp., Inc., 772 F.3d 1 (1st Cir. 2014); Anani v. CVS RX Services, Inc.,
730 F.3d 146 (2d Cir. 2013).
                                               7
       Case: 22-40219      Document: 66       Page: 14   Date Filed: 07/10/2023




equaled one day’s work, Plaintiffs worked anywhere from one to twelve hours on

any given day. (ROA.338, 689). More importantly, the undisputed record evidence

demonstrates that Plaintiffs’ salaries were promised to them in writing as a

“guaranteed weekly salary,” which they were entitled to (and did) receive every

week they performed any work for HR-IT, regardless of hours (or days or shifts)

worked. (HR-IT Br. at 23-25). In fact, Taylor received his full $1,200 salary in

multiple weeks when he worked less than eight hours. (ROA.316, 362, 676, 689-

696). Thus, this predetermined, guaranteed amount paid to Plaintiffs on a weekly

basis, constituting part of their compensation fits precisely within §602(a)’s

definition of a weekly salary.

      Plaintiffs’ argument that HR-IT’s interpretation would render §604(b) “mere

surplusage” also has no basis in the plain language of the regulations or applicable

precedent. (Gentry Br. at 13). Hewitt identifies at least one situation where §

604(b) applies—when an employee is paid a pure day rate. Hewitt, 143 S. Ct. at

685. Moreover, § 604(b) expressly limits the where its reasonable relationship test

may apply to “only if the employee’s pay is computed on an hourly, daily or shift

basis.” 29 C.F.R. 541.604(b) (emphasis added). Under HR-IT’s interpretation of

§604(b), on the other hand, the reasonable relationship test is not surplusage, but is

utilized only in those specific situations expressly permitted by §604(b)’s plain




                                          8
       Case: 22-40219      Document: 66       Page: 15   Date Filed: 07/10/2023




language, while Plaintiffs’ (and the DOL’s) interpretation would render §602(a)’s

“all or part” provision “mere surplusage.”

      There is no dispute that the Supreme Court in Hewitt unambiguously

confirmed that “a pay scheme meeting § 602(a) and the HCE rule’s other

requirements does not also have to meet § 604(b) to make a worker exempt.”

Hewitt, 143 S. Ct. at 685 n.3; see also id. at 685 (“§ 602(a) and § 604(b) are

independent routes for satisfying the HCE rule’s salary-basis component.”). And

all applicable regulations and precedent expressly confirm §602(a)’s salary basis

test is met where, like here, an employee receives “each pay period on a weekly, or

less frequent basis, a predetermined amount,” even when the employee gets

additional compensation calculated on a non-salary basis. Id. at 688 n.5; Hebert,

2023 WL 4105427 at *2. There is simply no basis for Plaintiffs’ claim that they

were not paid on a salary basis simply because they were paid additional

compensation. Because that HR-IT’s payment of a weekly guaranteed salary to

Plaintiffs complied with §602(a), HR-IT need not also satisfy §604(b)’s reasonable

relationship test and no further analysis is needed.

      B.     PLAINTIFFS’ EXTRA HOURLY PAY FELL UNDER §604(A), NOT §604(B).

      As HR-IT explained in its Opening Brief, its interpretation of the salary

basis test is not only supported by the express language in §602(a) and Hewitt, but

also by §604(a). (HR-IT Br. at 26-32). In response, Plaintiffs and the DOL

                                          9
        Case: 22-40219        Document: 66       Page: 16      Date Filed: 07/10/2023




incorrectly claim that §604(a) permits additional pay “only for hours ‘beyond the

normal workweek.’” (DOL Br. at 15-19; Gentry Br. at 13-21). As an initial matter,

the Hebert decision annihilates this argument, since the day rates there were paid

for any “days spent working at an offshore site,” not just for days or hours “beyond

the normal workweek.” Hebert, 2023 WL 4105427, at **1–2. Moreover, this

argument discounts the DOL’s own statements in 2019 and 2020 Opinion Letters

confirming that payments of any nature are permitted where, as here, employees

receive a weekly base salary over DOL’s threshold. (See HR-IT Br. at 29-30).

       HR-IT’s interpretation of §604(a) comports with the plain text of the

regulation which explicitly provides “[a]n employer may provide an exempt

employee with additional compensation without losing the exemption or violating

the salary basis requirement…so long as the employment arrangement also

includes a guarantee of at least the minimum weekly-required amount paid on a

salary basis.” 29 C.F.R. § 541.604(a). Notably, the last sentence of §604(b)

provides that the additional compensation “may be paid on any basis (e.g., flat

sum, bonus payment, straight-time hourly amount, time and one-half, or any

other basis)…” Id. Neither Plaintiffs nor the DOL explain how HR-IT’s pay

structure does not fall squarely within 541.604(a).7



7
 The DOL’s complete disregard of the first and last sentences of §604(a) defeat its position that
the Court should defer to its interpretation of the regulation. See Bowen v. Georgetown Univ.
                                              10
        Case: 22-40219        Document: 66      Page: 17     Date Filed: 07/10/2023




       Even if §604(a) only applied to payments for hours beyond the “normal

workweek,” there is no basis for construing normal workweek as forty hours.

When DOL wanted to refer to forty hours, it did so expressly. E.g., 29 C.F.R. §

778.101. And, the FLSA contains numerous other weekly hours thresholds. E.g.,

29 U.S.C. § 207(b)(3) (56-hour workweek for certain petroleum distributors); id. §

207(m) (48-hour workweek for certain tobacco industry employees). Thus, the

most reasonable interpretation of “normal workweek” in §604(a) is the one

proposed by HR-IT: the time period for which the parties intended the employee’s

weekly guaranteed salary to cover. (HR-IT Br. at 29–30).

       Finally, the inapplicability of §604(b) is supported by the use of the term

“normal scheduled workweek.” “Normal” means “[a]ccording to a regular pattern.”

Normal, Black’s Law Dictionary (11th ed. 2019). “Schedule[d]” means “to appoint,

assign, or designate for a fixed time.” Schedule, Merriam-Webster Dictionary,

available at https://www.merriam-webster.com/dictionary/schedule (last accessed

July 5, 2023). And “workweek” means “a fixed and regularly recurring period of

168 hours—seven consecutive 24-hour periods.” 29 C.F.R. § 778.105. Thus, the

plain language of §604(b) contemplates employees who work a fixed, regular

amount of time each week and whose total pay is computed on an hourly, daily, or

shift basis, such that their “usual” earnings can be determined and their salary be set

Hosp., 488 U.S. 204, 212 (1988) (courts do not afford deference to “agency litigating positions
that are wholly unsupported by [the] regulations”).
                                             11
        Case: 22-40219        Document: 66      Page: 18     Date Filed: 07/10/2023




to “roughly equivalent” of the same. It does not apply where, as here, Plaintiffs’

average hours fluctuated from 2 to 59 hours a week.8 For example, Taylor averaged

51.3 hours per week between February 18 and May 26, 2019, but only 10.7 hours

per week between September 14 and December 20, 20209—showing he had no

“normal scheduled workweek.”10 Plaintiffs provide no explanation how HR-IT

could have ensured Plaintiffs’ weekly salaries were “roughly equivalent to the

employee’s usual earnings” when their hours fluctuated so significantly that they

had no “normal scheduled workweek.” This further demonstrates the absurdity

(and indeed the impracticability) of applying §604(b) here. See Gregory v.

Missouri Pac. R. Co., 32 F.3d 160, 165 (5th Cir. 1994) (“in construing a statute or

regulation, [courts] seek to avoid imposing [absurd or illogical] results”).

II.    THE SALARY BASIS TEST IS INVALID

       Plaintiffs and the DOL provide scant defense of the salary basis test,

ignoring recent skepticism of Fifth Circuit judges and Supreme Court justices as to

its continued validity. Indeed, Plaintiffs do not even attempt to champion the

validity of reasonable relationship test, and the DOL relegates its defense of this

8
  ROA.574, 692; see generally ROA.391–473, 492–672.
9
  ROA.568–582, 656–670.
10
   Plaintiffs’ reliance on the DOL’s example of a nurse paid “$30 per hour, who would earn the
guaranteed minimum [then $455] in two shifts” is misplaced. See 69 Fed. Reg. 22122, 22184
(April 23, 2004) (“DOL’s 2004 Rule”). That example clearly contemplates a “guarantee[d]”
number of shifts, not a weekly predetermined salary: “the nurse might not receive more than the
two shifts required to earn the minimum guarantee.” Id. Here, Plaintiffs received their weekly
guaranteed salary regardless how much they worked, so their salaries were not “computed” on an
hourly basis.
                                             12
       Case: 22-40219        Document: 66    Page: 19   Date Filed: 07/10/2023




provision to two sentences. (DOL Br. at 29; Gentry Br. at 31-41). Thus, the Court

can—and should—invalidate the salary basis test or, at least, §604(b).

      A.     THIS COURT SHOULD CONSIDER THE VALIDITY OF THE SALARY BASIS
             TEST.

      Plaintiffs concede “[w]hen an appellate court should consider an issue not

properly presented is a question with no certain answer.” Essinger v. Liberty Mut.

Fire Ins. Co., 534 F.3d 450, 453 (5th Cir. 2008). Thus, although Plaintiffs and the

DOL contend that showing a “miscarriage of justice” is always required, precedent

shows otherwise. E.g., Glass v. Paxton, 900 F.3d 233, 243 (5th Cir. 2018) (no

“general rule as to how appellate courts should exercise their discretion” and

“circumstances in which a federal appellate court is justified in resolving an issue

not passed on below” include “where the proper resolution is beyond any doubt ...

or where injustice might otherwise result” (emphasis added, quotations omitted));

Atl. Mut. Ins. Co. v. Truck Ins. Exch., 797 F.2d 1288, 1293 (5th Cir. 1986) (“An

issue raised for the first time on appeal generally is not considered unless it

involves a purely legal question or failure to consider it would result in a

miscarriage of justice.”).




                                            13
           Case: 22-40219       Document: 66         Page: 20      Date Filed: 07/10/2023




       Even if showing a “miscarriage of justice” were required, 11 HR-IT

demonstrated just that with the following consequences if the district court’s

decision is affirmed but the salary basis test’s validity is not examined:

       •        Plaintiffs would be unjustly deemed non-exempt due solely to how
                they were paid (HR-IT Br. at 38);12

       •       The “flood of targeted plaintiffs lawsuits” threatening whole
               industries that have resulted from “interpretations of the word
               ‘salary’” under the DOL regulations will surely continue, and likely
               intensify. (HR-IT Br. at 41–42); 13 and

       •       The salary basis test would inexplicably punish employers who
               provide employees with pay on top of their salary that already exceeds
               the DOL’s “screening” threshold. (HR-IT Br. at 45–47).

More specifically, failure to take up this issue would—if the Court affirms the

district court—result in HR-IT being improperly held liable for $95,559 in

damages plus up to over $197,354.33 in attorneys’ fees and costs. (ROA.1273,

1347). That is the very definition of a miscarriage of justice. See, AG Acceptance

Corp. v. Veigel, 564 F.3d 695, 701 (5th Cir. 2009) (finding a miscarriage of justice

where “failure to reach the issue would result in significant actual harm … liability

for approximately $206,544.52 in unjustified attorney’s fees”).


11
  The DOL wags its finger at HR-IT for not using the exact words “miscarriage of justice,” (DOL Br. at
26), but there is no requirement that “an appellant invoke the[se] magic words.” Bernal v. Bexar County,
757 F. App’x 316, 319 (5th Cir. 2018).
12
   See Hewitt, 15 F.4th at 319 (Wiener, J., dissenting) (“the original proponents of the FLSA…are
turning over in their respective graves” due to the salary basis test excluding White-Collar
employees from exempt status).
13
   See Id. at 317 n. 25 (Jones, J., dissenting) (explaining how the Court’s interpretation of the
salary basis test has “implications beyond the [employees] at issue in this case”).
                                                  14
           Case: 22-40219        Document: 66       Page: 21   Date Filed: 07/10/2023




          Plaintiffs claim there is no “miscarriage of justice” because the Supreme

Court did not take up this issue in Hewitt. (Gentry Br. at 34). But in Hewitt, Helix

did not first raise the issue until oral argument before the Supreme Court. Hewitt,

143 S. Ct. at 685 n.2. Thus, unlike here, the parties did not have the opportunity to

brief the issue in any court. If anything, the Supreme Court’s failure to address this

issue makes it even more vital that this Court address it now. Proper interpretation

of §604(b) has been in flux for several years. Now that the Supreme Court has

found that DOL’s salary basis test results—at least on the facts of Hewitt—in

exempt status turning solely on “how an employee is paid,” 14 its validity must be

examined. See Pub. Emps. Ret. Sys. of Ohio v. Betts, 492 U.S. 158, 171 (1989)

(rejecting “longstanding agency interpretation[]” where court’s “analysis in [prior

case] ma[de] apparent, however, this [regulatory] approach … cannot be squared

with the plain language of the statute”). And this case presents the issue in pure

form since there is no dispute that Plaintiffs met the other White-Collar exemption

requirements.

          Finally, although the DOL contends that this Court should not take up this

issue because there is a district court case challenging the salary level requirement,

that case provides no basis for the Court declining to address the separate

arguments here regarding the salary basis test. (DOL Br. at 26 (discussing Mayfield


14
     Hewitt 143 S. Ct. at 695 (Kavanaugh, J., dissenting).
                                                  15
         Case: 22-40219        Document: 66        Page: 22     Date Filed: 07/10/2023




v. U.S. Department of Labor, No. 1:22-cv-792-RP (W.D. Tex.)). 15 Thus, HR-IT

has provided ample reasons for taking up this issue for the first time on appeal.

(See also HR-IT Br. at 37–48).

       B.      THE “SALARY BASIS” REQUIREMENTS EXCEED THE DOL’S AUTHORITY
               TO DEFINE AND DELIMIT THE WHITE-COLLAR EXEMPTIONS.

       Plaintiffs’ (and the DOL’s) arguments on the merits fare no better. Initially,

although Plaintiffs rely on Chevron, 16 the DOL does not. (Gentry Br. at 40–41;

DOL Br. at 27–29). Thus, “Chevron does not apply for the simple reason that the

Government does not ask [this Court] to apply it.” Cargill v. Garland, 57 F.4th

447, 465 (5th Cir. 2023), petition for certiorari filed (U.S. April 7, 2023).

       Even if Chevron applied, it “is not a standard of review,” but rather “a legal

argument that the Government can make to contend that its interpretation satisfies

the relevant standard of review” set forth in the Administrative Procedure Act:

“arbitrary and capricious, abuse of discretion, in excess of statutory authority, and

so on.” Cargill, 57 F.4th at 466 (citing 5 U.S.C. § 706). Thus, even under Chevron,

the Court must first ask “whether Congress has directly spoken to the precise

question at issue” by “exhaust[ing] all the ‘traditional tools’ of construction,”

including “text, structure, history, and purpose.” Gulf Fishermens Ass’n v. Nat’l

15
   Moreover, while the Government contends that it would be entitled to full briefing in that case
since it is a party, it has also sought to do so here. (DOL Br. at 27). HR-IT does not object to the
DOL’s request but respectfully requests an opportunity file a supplemental response thereto.
16
   Chevron, U.S.A. Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837 (1984). The Supreme Court
has granted certiorari on whether Chevron should be overturned. Loper Bright Enters., Inc. v.
Raimondo, 45 F.4th 359 (D.C. Cir. 2022), cert. granted, 2023 WL 3158352 (2023).
                                                16
       Case: 22-40219      Document: 66     Page: 23    Date Filed: 07/10/2023




Marine Fisheries Serv., 968 F.3d 454, 460 (5th Cir. 2020), as revised (Aug. 4,

2020). And, even if a statute is “truly ambiguous,” “an agency interpretation can

fail Chevron step two if it is contrary to clear congressional intent or frustrates the

policy Congress sought to implement” or is “arbitrary, capricious, or manifestly

contrary to the statute.” Sw. Elec. Power Co. v. United States Env't Prot. Agency,

920 F.3d 999, 1028 (5th Cir. 2019).

             1.     THE FLSA UNAMBIGUOUSLY REQUIRES THE WHITE-COLLAR
                    EXEMPTIONS TURN ON JOB DUTIES, NOT PAY.

      Here, the FLSA’s “text, structure, history, and purpose” confirm that the

White-Collar exemptions were not intended to turn on pay. “[E]mployee[s]

employed in a bona fide executive, administrative, or professional capacity” are

exempt. 29 U.S.C. § 213(a)(1). The terms “capacity” and “bona fide” have always

been understood to refer to job duties, not pay. Nevada v. United States Dep't of

Lab., 275 F. Supp. 3d 795, 804–05 (E.D. Tex. 2017). Thus, “Section 213(a)(1) is

unambiguous because the plain meanings of the words in the statute indicate

Congress’s intent for employees doing ‘bona fide executive, administrative, or

professional capacity” duties to be exempt from overtime pay.’” Id. at 805.

Therefore, DOL does not have authority to promulgate rules that cause “salary [to]

serve[] as a defining characteristic when determining who, in good faith, performs

actual executive, administrative, or professional capacity duties.” Id. at 806; see


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       Case: 22-40219     Document: 66    Page: 24    Date Filed: 07/10/2023




also Hewitt, 15 F.4th at 314–16 (Jones, J., dissenting) (citing Nevada with

approval).

      The DOL’s claim that the use of the terms “bona fide” and “capacity”

somehow permit the White-Collar exemptions to turn on salary is belied by DOL’s

own previous explanation that “the statutory text … grounds an analysis of

exemption status in the ‘capacity’ in which someone is employed—i.e., that

employee’s duties.” DOL, Defining and Delimiting the Exemptions for Executive,

Administrative, Professional, Outside Sales and Computer Employees, 84 Fed.

Reg. 51230, 51281 (Sept. 27, 2019) (the “DOL’s 2019 Rule”) (emphasis added);

see also id. at 51237 (“Salary is a helpful indicator of the capacity in which an

employee is employed, especially among lower-paid employees,” “[b]ut it is not

‘capacity’ in and of itself”); Harry Weiss, Report and Recommendations on

Proposed Revisions of Regulations, Part 541, at 15 (1949) (explaining that the

salary test “must serve as a guide to the classification of bona fide [White-Collar]

employees and not as a barrier to their exemption”). Moreover, that Congress did

not intend for the White-Collar exemptions to turn on pay is shown by the

inclusion of pay requirements for other exemptions. (HR-IT Br. at 40–41).

      Finally, that Congress did not intend the White-Collar requirements to turn

on pay is consistent with the FLSA’s purpose. The FLSA’s “exemptions are as

much a part of the FLSA’s purpose as the overtime-pay requirement.” Encino

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       Case: 22-40219      Document: 66    Page: 25    Date Filed: 07/10/2023




Motorcars, LLC v. Navarro, 138 S. Ct. 1134, 1142 (2018). Congress deemed it

proper to exempt White-Collar employees from the “minimum wage and

maximum hour requirements” of the FLSA. 29 U.S.C. § 213(a)(1). Although

Plaintiffs argue that the salary test avoids an “absurd” result of White-Collar

employees receiving subminimum wages (Gentry Br. at 44), the FLSA clearly

exempts such employees from both the overtime and minimum wage requirements.

29 U.S.C. § 213(a); see also Meza v. Intelligent Mexican Mktg., Inc., 720 F.3d 577,

586 (5th Cir. 2013) (affirming summary judgment to employer as to exempt

employee “who was paid on average $6.66 an hour” and therefore “was

compensated meaningfully below the minimum wage,” rejecting plaintiff’s

suggestion that “earning less than minimum wage is itself sufficient for relief”).

There is nothing absurd about this result: several other FLSA exemptions contain

no pay requirements and, therefore, permit subminimum wages. E.g., Chen v.

Major League Baseball Properties, Inc., 798 F.3d 72, 74 (2d Cir. 2015) (affirming

dismissal of employee’s claims againsta “seasonal amusement or recreational

establishment…exempt from the FLSA’s minimum wage requirements pursuant to

29 U.S.C. § 213(a)(3)”).

      Thus, the FLSA unambiguously provides that the White-Collar exemptions

must turn on job duties, not pay. And since “the canons [of statutory interpretation]




                                          19
       Case: 22-40219     Document: 66     Page: 26    Date Filed: 07/10/2023




supply an answer, ‘Chevron leaves the stage.’” Epic Sys. Corp. v. Lewis, 138 S. Ct.

1612, 1630 (2018).

             2.      DOL’S INTERPRETATION OF THE WHITE-COLLAR EXEMPTIONS IS
                     UNREASONABLE.

      Even if Section 213(a) were ambiguous (it is not), the salary basis test is an

unreasonable and arbitrary interpretation of the FLSA. While the earning a certain

level of salary can be helpful for “identifying categories of employees Congress

intended to be exempt,” it cannot be used to “essentially make an employee’s

duties, functions, or tasks irrelevant.” Nevada, 275 F. Supp. 3d at 806–07; Hewitt,

15 F.4th at 316 (Jones, J., dissenting) (“every salary test does not necessarily pass

statutory muster”). Thus, the DOL’s current salary basis test is “not ‘based on a

permissible construction’ of Section 213(a)(1).” Nevada, 275 F. Supp. 3d at 807.

      In fact, DOL has excluded salary basis requirements for public sector

employees, motion picture industry employees, business owners, and doctors and

lawyers. 29 C.F.R. §§ 541.101, 304, 709, 710; see also DOL, Exemptions From

Minimum Wage and Overtime Compensation Requirements of the Fair Labor

Standards Act; Public Sector Employers, 57 Fed. Reg. 37666, 37670 (Aug. 19,

1992) (emphasis added) (“certain aspects of the ‘salary basis’ test … are not valid

indicators of the bona fides of a claimed exemption under section 13(a)(1) in the

public sector”). That the DOL has inexplicably found the “salary basis” test to be a

dispositive indicator of exempt status in certain sectors, but not others, shows this
                                         20
       Case: 22-40219      Document: 66     Page: 27    Date Filed: 07/10/2023




test is arbitrary and divorced from the statute. See Encino Motorcars, LLC v.

Navarro, 579 U.S. 211, 222 (2016) (“[u]nexplained inconsistency in agency policy

is a reason for holding an interpretation to be … arbitrary and capricious”); Bellum

v. PCE Constructors, Inc., 407 F.3d 734, 739 (5th Cir. 2005) (“[N]o deference is

owed to an interpretation of the statute that makes arbitrary distinctions.”).

      Moreover, the FLSA’s silence regarding pay requirements in 213(a) does not

permit the DOL to exclude employees who undisputedly perform White-Collar job

duties from exempt status based solely on the way they are paid, thereby disturbing

the pay practices of entire industries. Such “[e]xtraordinary grants of regulatory

authority are rarely accomplished through ‘modest words,’ ‘vague terms,’ or

‘subtle device[s].’” W. Virginia v. Env’t Prot. Agency, 142 S. Ct. 2587, 2609

(2022). Thus, even if “bona fide … capacity” could plausibly be read to encompass

salary requirements, “something more than a merely plausible textual basis for the

agency action is necessary” where, as here, the action makes a “radical or

fundamental change” to the statutory scheme. Id.; see also Gulf Fishermens Ass’n.,

968 F.3d at 460 (rejecting agency’s argument that “nothing-equals-something” for

statutory authority); Lamie v. U.S. Tr., 540 U.S. 526, 538 (2004) (“There is a basic

difference between filling a gap left by Congress’ silence and rewriting rules that

Congress has affirmatively and specifically enacted.”).




                                          21
           Case: 22-40219        Document: 66       Page: 28     Date Filed: 07/10/2023




          Plaintiffs’ contention that Congress ratified the salary basis test is simply not

true. Congress merely stated in 1949 that then-existing DOL regulations would

“remain in effect;” and expressly excepted any “regulation … [that] may be

inconsistent with the provisions of this Act.” 93 Stat. 920; see United States v. Smith,

39 F.2d 851, 857 (1st Cir. 1930) (rejecting argument that agency regulations “have

been ratified by Congress” where Congress “refus[ed] to adopt a provision declaring

the regulations to be valid”); Bio-Med. Applications of Aquadilla, Inc. v. United

States, 119 Fed. Cl. 546, 559 (2014) (explaining that “[t]he standard to establish

congressional ratification of unauthorized agency action is not easy to meet” and

requires that “the statute ‘must plainly show a purpose to bestow the precise

authority which is claimed’”). Likewise, Plaintiffs claim that the Fifth Circuit

(Wirtz17) and Supreme Court (Auer18) upheld the salary basis test also has no basis

in law. (HR-IT’s Br. at 44–45). Similarly, the fact that some version of a salary test

has been in place for many years is no justification, since “[e]ven contemporaneous

and longstanding agency interpretations must fall to the extent they conflict with

statutory language.” Betts, 492 U.S. at 171.

          Finally, Plaintiffs incorrectly argue that if the “salary basis test goes down,

the HCE rule necessarily goes down with it.” This position ignores Hewitt’s

clarification that the HCE rule “amends only the duties test” such that “the duties

17
     Wirtz v. Mississippi Publishers Corp., 364 F.2d 603 (5th Cir. 1966).
18
     Auer v. Robbins, 519 U.S. 452 (1997).
                                                 22
        Case: 22-40219     Document: 66      Page: 29    Date Filed: 07/10/2023




test becomes easier to satisfy.” Hewitt, 143 S. Ct. at 683. This makes perfect sense

and still aligns with the plain language of the HCE exemption: the higher an

employee’s pay, the more likely they are to be employed in a bona fide in a White-

Collar capacity. See 29 C.F.R. § 541.601(c).

      C.     THE REASONABLE RELATIONSHIP TEST IS EVEN MORE DIVORCED FROM
             THE FLSA’S TEXT AND, THEREFORE, INVALID.

      The DOL’s only argument for the reasonable relationship test’s validity is

that it ensures that an hourly paid worker is “paid a weekly guarantee that

functions like a true salary.” But the DOL utterly fails to tie that argument to the

statutory text. Indeed, the DOL’s own stated purpose for “the salary tests” is to

“prevent[] the misclassification by employers of obviously nonexempt employees,

thus tending to reduce litigation” and “simplif[ying] enforcement by providing a

ready method of screening out the obviously nonexempt employees.” DOL’s 2019

Rule, 84 Fed. Reg. at 51237. The DOL claims that this screening purpose applies

only the salary level test, not the salary basis test. But the above language refers

broadly to the salary tests. Moreover, salary basis is a “predetermined and fixed”

amount, and salary level is “a minimum specified amount” that “the amount of

salary paid must meet,” so salary basis is simply the method of determining

whether the employee receives a weekly guarantee over the minimum salary level

threshold. DOL’s 2019 Rule, 84 Fed. Reg. at 51230. Thus, the screening purpose

obviously relates to both the salary basis and salary level tests.
                                          23
        Case: 22-40219     Document: 66      Page: 30    Date Filed: 07/10/2023




       Moreover, Plaintiffs’ arguments regarding the general salary basis test have

no application to the reasonable relationship test. The Fifth Circuit’s 1966 Wirtz

decision, the Supreme Court’s 1997 Auer decision, and the alleged “ratification” of

the DOL’s regulations in 1949, all pre-dated DOL’s 2004 reasonable relationship

test. DOL’s 2004 Rule, 69 Fed. Reg. at 22183.

       Here, as discussed above, it is undisputed that if Plaintiffs only received

their weekly salaries, they would be exempt. Those weekly salaries provide stable

and predictable pay well over the DOL’s screening threshold, so that is all that

should be required to show that their compensation indicates they work in a “bona

fide [White-Collar] capacity.” If anything, payments above the salary should

indicate that an employee is more likely in a bona fide White-Collar role. See 29

C.F.R. § 541.601(c). Yet, if §604(b) applies, Plaintiffs would be deemed non-

exempt solely because they received hourly pay on top of their weekly salaries.

This is an absurd and unreasonable interpretation of Congress’s intent to exclude

White-Collar employees from the FLSA.

III.   THE DISTRICT COURT SHOULD BE DIRECTED TO EXAMINE
       HR-IT’S GOOD FAITH EVIDENCE.

       Plaintiffs argue that the district court did not abuse its discretion in refusing

to consider HR-IT’s evidence of good faith presented in its Objections to the

Magistrate Judge’s Memorandum and Recommendation because HR-IT did not

provide an explanation not introducing this evidence in its Motion for Summary
                                          24
         Case: 22-40219        Document: 66        Page: 31     Date Filed: 07/10/2023




Judgment.19 This Court has explained that in exercising its discretion to review

new evidence on objections to a magistrate judge’s recommendation, a district

court should “strike the proper balance between the[] competing interests” of “the

need to bring litigation to an end and the need to render just decisions on the basis

of all the facts,” considering—among other things—“the reasons for the moving

party’s default” and the importance of the omitted evidence to the moving party’s

case.” Freeman v. Cnty. of Bexar, 142 F.3d 848, 852–53 (5th Cir. 1998). The

district court’s Order is devoid of any such “balanc[ing]” of these interests and

merely stated in conclusory fashion that the evidence is “not properly before the

Court.” (ROA.1329). The district court’s failure to explain its decision constitutes

an abuse of discretion. E.g., CEATS, Inc. v. TicketNetwork, Inc., No. 21-40705,

2023 WL 4056493, at *7 (5th Cir. June 19, 2023) (“district court abused its

discretion by failing to explain the rates that it approved”); In re Lloyd's Register

N. Am., Inc., 780 F.3d 283, 290 (5th Cir. 2015) (“district court’s failure to provide

an explanation of its denial of LRNA’s motion clearly exceeded the bounds of

judicial discretion”).

       Moreover, although Plaintiffs contend that Davis v. Fernandez, 798 F.3d

290 (5th Cir. 2015) is distinguishable, several of the factors considered there are

19
  Plaintiffs do not dispute that HR-IT’s additional evidence as sufficient to support its good faith
defense (HR-IT Br. at 48-49), and thus waive such argument. See Cavallini v. State Farm Mut.
Auto Ins. Co., 44 F.3d 256, n.9 (5th Cir. 1995) (“failure to provide any legal or factual analysis
of an issue results in waiver”).
                                                25
       Case: 22-40219      Document: 66    Page: 32    Date Filed: 07/10/2023




directly applicable here. First, like in Davis Plaintiffs cannot “claim … unfair

surprise” as to HR-IT’s testimony since their counsel is also counsel in Pickens. Id.

at 294. Second, the evidence was important, since otherwise the party would “be

left speechless” as to the claim at issue. Id. HR-IT had evidence that the Magistrate

Judge specifically noted may have altered the outcome. (ROA.1270, 1302–04).

Finally, HR-IT had good reason for not presenting this evidence to the Magistrate

Judge: its advice of counsel was subject to attorney-client privilege until such

privilege was waived in Pickens, and HR-IT believed that the evidence it originally

presented was sufficient to establish good faith without waiving such privilege.

(ROA.1299–1301, 1316). Thus, even if the Court affirms the district court’s

finding that Plaintiffs were not paid on a salary basis, the Court should find that

liquidated damages were not warranted or, at least, require the district court to

consider HR-IT’s additional evidence on remand.

                                  CONCLUSION

      For the foregoing reasons and the reasons set forth in HR-IT’s Brief, HR-IT

respectfully requests that this Court hold that Plaintiffs were properly classified as

exempt under the FLSA, reverse the district court’s denial of its motion for

summary judgment, and dismiss Plaintiffs’ claims with prejudice.




                                          26
      Case: 22-40219   Document: 66    Page: 33    Date Filed: 07/10/2023




Dated: July 10, 2023                       Respectfully submitted,

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                                      27
       Case: 22-40219     Document: 66    Page: 34    Date Filed: 07/10/2023




                         CERTIFICATE OF SERVICE

      I certify that on July 10, 2023, a copy of the foregoing Brief was filed

electronically. Notice of this filing will be sent by operation of the Court’s

Electronic Filing System. Parties may access this filing through the Court’s system.

                                          /s/ Ashlee Cassman Grant
                                          Ashlee Cassman Grant




                                         28
       Case: 22-40219     Document: 66    Page: 35    Date Filed: 07/10/2023




                     CERTIFICATE OF COMPLIANCE

      I certify that this Brief complies with the type-volume limit of FED. R. APP.
P. 32(a)(7)(B)(i) because, excluding the parts of the document exempted by FED.
R. APP. P. 32(f), this brief contains 6462 words, as determined by the word count
function of Microsoft Word. This document complies with the typeface
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Roman typeface.
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                                         29
